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 6                      IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9    Extremity Medical, LLC,                          No. CV-22-00723-PHX-GMS
10                  Plaintiff,                         ORDER
11    v.
12    Fusion Orthopedics, LLC,
13                 Defendant.
14    Fusion Orthopedics, LLC,
15                         Counter-Claimant,
16    v.
17    Extremity Medical, LLC,
18                         Counter-Defendant.
19
20
21          Before the Court is the parties’ Joint Status Report (Doc. 118.
22          IT IS ORDERED lifting the stay entered by the Court’s December 12, 2023 Order
23   (Doc. 107).
24          IT IS FURTHER ORDERED setting a Telephonic Status Conference on April
25   18, 2025 at 11:30 a.m. (Arizona Time). To ensure clarity of communication with the
26   Court and accurate transcription by the Court Reporter, the parties shall not use headsets,
27   speaker phones or other apparatus that interferes with a clear transmission. It is each
28   participating lawyer’s/party’s responsibility to have a clear audio connection. Failure to
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 1   achieve this will require that the Status Conference be reset with the parties appearing in
 2   Court in person. The Court will email the call-in information to counsel/parties prior to
 3   the conference date.
 4          Dated this 17th day of March, 2025.
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